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                 EXHIBIT 19
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                Drug Enforcement Administration
               Pharmaceutical Industry Conference

                                   Wholesale Distribution
                                 Diversion Control Program

                                              September 11, 2007

        Chris Zimmerman
        Vice President - Corporate Security & Regulatory Affairs
        AmerisourceBergen Corporation


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                    ABDCMDL00037184
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       Regulatory Responsibility

           Title 21 of the Code of Federal Regulations:


                1301. 71 (a) - "All applicants and registrants
                shall provide effective controls and procedures to
                guard against theft and diversion of controlled
                substances."



              Distributor Response: Develop policy to ....



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                      ABDCMDL00037185
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       HOW?
           Distributors usually implement policies that mirror the
            Code of Federal Regulations' requirements:
           1301.72 - Physical Security Controls - vault I cage construction
             and alarm system requirements - No Problem

           1304 - Records and Reports of Registrants - information,
             maintenance, and inventory requirements - No Problem

           1305 - Orders For Schedule I & II Controlled Substances -
             ordering, filling, executing, and endorsing DEA Forms 222 - No
             Problem

           1301.74 - Other Security Controls - make a good faith inquiry;
             report suspicious orders; report significant losses - gray area



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                      ABDCMDL00037186
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       Regulatory Responsibility

           Title 21 of the Code of Federal Regulations:


               1301.74(b) - "The registrant shall design and operate a
               system to disclose to the registrant suspicious
               orders of controlled substances. The registrant shall
               inform Field Diversion Office of the Administration in
               his area of suspicious orders when discovered by the
               registrant."




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       Regulatory Responsibility

                   ~    Reporting suspicious orders to DEA does NOT
                       relieve the distributor of the responsibility to maintain
                       effective controls to prevent diversion.

                   ~   DEA cannot I will not tell a distributor:
                       - if an order is or is not legitimate; and/or
                       - if the distributor should or should not ship an order


                   ~   Distributor must make a "business" decision
                       whether or not to ship the order.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                      ABDCMDL00037188
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       ABC's Diversion Control Program


              ~    "Know Your Customer" Due Diligence

              ~    Order Monitoring Program (OMP)

              ~    Investigations

              ~    Education and Training




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                      ABDCMDL00037189
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       New Customer Due Diligence


                ~"Know      Your Customer" Due Diligence investigations
                    completed on all new Retail and Wholesale Accounts.
                     - Retail chain pharmacies are exempted.


                ~   Included in New Account Setup Process
                    - New Account Questionnaire
                    - On-site visit includes photographs inside and out
                      (or physical description of premises)




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       New Customer Due Diligence


                ~   Monthly Sales Limits
                    - All new accounts set at the lowest threshold level
                      for DEA business type in ABC's Order Monitoring
                      Program (OMP)

                ~   "Do Not Ship" List
                    - Customers to whom ABC has ceased distribution to
                     due to suspicious activity
                    - Other sources



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                      ABDCMDL00037191
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       Order Monitoring Program (OMP)

                  ~    The Controlled Substances/Listed Chemicals Order
                      Monitoring Program (OMP) was developed to
                      identify suspicious orders and purchasing trends.

                  ~    Historically Controlled Substance I Listed Chemical
                      order monitoring has been based on a ship and
                      report process.

                  ~ABC's       OMP process is now based on:
                      identify, capture, investigate, and report suspicious
                      orders; all prior to shipment.


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       OMP Customer Account Type and Size


           ~    Each Customer is classified by "Customer Type," which
               represents how the customer is registered with DEA.
               -Hospital/Clinic, Retail Pharmacy, Distributor, etc.
               - This value is loaded using the NTIS Database synch process.


           ~    Each customer is then categorized by "Customer Size"
               based upon average revenue relative to its peers in the
               same "Customer Type."




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       OMP Item Family and Threshold



           ~   All controlled substance and listed chemical products
               are grouped into item "families" based upon the drug's
               active ingredient, which has a corresponding Generic
               Code Number (GCN).


           ~The     OMP will combine all sales of items within the
               same GCN family (e.g., hydrocodone I vicodin;
               oxycodone I percocet; Alprazolam I Xanax), for each
               customer.


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       OMP Item Family and Threshold



           ~    Item threshold levels are established from
               accumulated monthly sales for all customers based on
               item family, DEA type, and customer size.


           ~    A customer's threshold level is initially set by item
               family based on the customer's DEA type and
               customer size.




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       OMP Order Processing


        ~    A customer's incoming orders are accumulated by item
             family, and the total item family order quantity is applied
             to the predetermined Item family monthly threshold.


        ~    If the order quantity falls below the Item family threshold,
             the order will process normally.




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       OMP Order Processing

        ~    If the order quantity goes over the item family threshold,
             the order will be placed into "OMP Review."

        ~    All subsequent orders within the same item family will be
             rejected
                 .
                      while an item within the same family is under
             review.

        ~    Each distribution center (DC) is responsible for initial
             review of all orders in OMP Review.
            -     If the DC can determine the order is not suspicious, the DC will release the
                  order.
            -     If the DC is unsure, the order will be flagged to be investigated by
                  Corporate (CSRA).


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       OMP Order Processing


           ~    All OMP orders that the DC released, as well as those
                flagged
                     .
                        for CSRA Review, are sent to CSRA each
                morning.

           ~     Based upon information available to CSRA, flagged
                 orders will either be released or placed in "Investigate"
                 status.

           ~    All orders placed into Investigate status are
                electronically reported to DEA on a daily basis.



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       OMP Order Processing


           ~     CSRA conducts the investigation and will notify the
                 distribution center of the final disposition of the order
                 (release or cancel).


           ~     CSRA will also determine if any permanent action
                 needs to be taken with the customer.
                - Customers who have legitimate needs will have their size or
                  threshold levels increased.
                - Customers with continued suspicious ordering patterns may
                  have their ability to order control substances effected.



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                                                            Order Monitoring Process
                                                                    (OMP)


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                  Order




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                              Customer CS Order

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                                                                    •               'I




            Below Threshold                               Above Threshold
      \..                                1




      r
                       I                                            I
              Release/Ship                               Hold for DC Review
      \..                                J                                          ,J




                                                                    I
                                                            DC Review

                                                                    I
                                                 •             "        r                  •
                                   Release/Ship                                   Hold for                                   Cancel
                                 Report,. to CSRA                             CSRA Review                                 Report to CSRA
                                          .                    ,J       \..                                     \..                                 ,J




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                                                                                                                                                Report to DEA              "
                                                                                                      Release/Ship
                                                                                                                                               and Investigate             )



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       Order Monitoring Program (OMP)

              ~   A Distributor can't solely rely on computer
                  systems and programs to prevent diversion.

              ~   All employees have a role and responsibility in a
                  successful Order Monitoring Program:
                   -Sales
                   - Procurement
                   - Management (DC I HQ)
                   -Order fillers
                   - Customer service
                   - IT



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       Investigations
                ~   Sources of Investigations
                     - Order Monitoring Program (OMP)
                     - Monthly Customer Product Mix Report
                     - Notification by DEA
                     - Notification by ABC DC

                ~   Typical Investigation Process
                     - One-year purchase history
                     - On-site inspection
                     - CSRA Form 590c Retail Pharmacy Verification Checklist

                ~   Decision
                     - Cease distribution of CS/LC to customer
                     - Customer Sign applicable compliance agreement




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       Education and Training
            ~   All appropriate associates are trained on ABC's Diversion
                Control Program

            ~    ABC also holds training and educational courses for its
                customers and vendors regarding this subject matter.




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